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                           IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: Marie F. Shamberger
        Cecil L. Shamberger
                                     Debtors                                          Chapter 13

 Mortgage Assets Management, LLC
                              Movant
               vs.                                                               NO. 19-11655 AMC

 Marie F. Shamberger
 Cecil L. Shamberger
                                     Debtors                                    11 U.S.C. Section 362

 and Scott F. Waterman
                                     Trustee


                                                          ORDER


          AND NOW, this 17th day of April                   , 2023 upon the filing of a Certification of Default by the
 Moving Party in accordance with the Stipulation of the parties approved on December 1, 2021, it is ORDERED
 AND DECREED that:
          The Automatic Stay of all proceedings, as provided under Section 362 of the Bankruptcy Abuse
 Prevention and Consumer Protection Act of 2005 (The Code), 11 U.S.C. Section 362 and the Co-Debtor Stay
 under Section 1301 of the Bankruptcy Code (if applicable), is modified with respect to the subject premises located
 at 1101 South Wilton Street, Philadelphia, PA 19143 (“Property), so as to allow Movant, and its successors or
 assignees, to proceed with its rights and remedies under the terms of the subject Mortgage and pursue its in rem
 State Court remedies including, but not limited to, taking the Property to Sheriff’s Sale, in addition to potentially
 pursuing other loss mitigation alternatives including, but not limited to, a loan modification, short sale or deed-in-
 lieu of foreclosure. Additionally, any purchaser of the Property at Sheriff's Sale (or purchaser's assignee) may take
 any legal action for enforcement of its right to possession of the Property.
          The stay provided by Bankruptcy Rule 4001(a)(3) has been waived.




                                                                 United States Bankruptcy Judge.
